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                              UNITED STATES OF AMERICA
                               DEPARTMENT OF JUSTICE
                                  ___________________
                               SUBPOENA DUCES TECUM

TO:    Custodian of Records
       Missouri Baptist Medical Center
       3015 N. Ballas Road
       St. Louis, MO 63131

       YOU ARE HEREBY COMMANDED TO APPEAR BEFORE

        Dorothy L. McMurtry, Assistant United States Attorney                            ,
an official of the U.S. Department of Justice, and you are hereby required to bring with you and
produce the following:
                         See Attachment
which are necessary in the performance of the responsibility of the U.S. Department of Justice to
investigate federal health care offenses, defined in 18 U.S.C. § 24(a) to mean violation of, or
conspiracies to violate: 18 U.S.C. §§ 669, 1035, 1347, or 1518; and 18 U.S.C. §§ 287, 371, 666,
1001, 1027, 1341, 1343, or 1954 if the violation or conspiracy relates to a health care benefit
program (defined in 18 U.S.C. § 24(b)).

PLACE AND TIME FOR APPEARANCE:
At the U.S. Attorney’s Office, Thomas F. Eagleton U.S. Courthouse, 111 South 10th Street,
Room 20.333, St. Louis, Missouri 63102
on the 30th day of September , 2022 , at 10:00 o’clock A.M.

Failure to comply with the requirements of this subpoena will render you liable to proceedings in
the district court of the United States to enforce obedience to the requirements of this subpoena,
and to punish default or disobedience. The subpoenaed documents may be turned over to the
agent serving process in lieu of appearing.

                  Issued under authority of Sec. 248 of the Health Insurance
               Portability & Accountability Act of 1996, Public Law No. 104-91
                                     (18 U.S.C. § 3486)

                                           IN TESTIMONY WHEREOF

                                                         Dorothy L. McMurtry
                                           The undersigned official of the U.S. DEPARTMENT
                                           OF JUSTICE, has hereunto set his/her hand this
                                             12th    day of September , 2022.

                                           /s/ Dorothy L. McMurtry
                                                            (SIGNATURE)
                                           Phone: (314) 539-2200

                                                                                  Form CRM-180
USAO # 2018R01489                                                                       Mar. 97

                                                                                     EXHIBIT A
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                                    RETURN OF SERVICE


I, being a person over 18 years of age, hereby certify that a copy of this subpoena was duly
served on the person named herein by means of --


       1.      Personal delivery to an individual, to wit:


                              (Name)


                              (Title)


                              (Address)

       2.      Personal delivery to an address, to wit:


                      (Description of premises)


                              (Address)



       3.      Registered or certified mailing to:


                              (Name)


                              (Address)



       at        (   ) a.m.             (   ) p.m. on


                              (Signature)


                              (Title)
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                                      Attachment to Subpoena
Custodian of Records
Missouri Baptist Medical Center
3015 N. Ballas Road
St. Louis, MO 63131


                                            Definitions


       A.      This subpoena is directed to the Custodian of Records Missouri Baptist Medical
Center located at 3015 N. Ballas Road, St. Louis, MO 63131.
       B.      “Communication(s)” is used in the broadest possible sense and means any
transmission or exchange of information orally or in writing. This definition includes email, SMS
messages, text messages, instant messages, and social media.
       C.      “Document” and “documents” are used in the broadest possible sense and include,
but are not limited to, any hard copy or electronically store information and emails. This definition
includes any attachments, enclosures, or other matter affixed to or incorporated by reference within
any document responsive to this subpoena.
       D.      The terms “any,” “all,” “and,” or “or” should be read in the conjunctive and
disjunctive to provide the broadest possible meaning of to each subpoena request.
       E.      The singular and plural forms of any word shall be construed interchangeably to
bring within the scope of this subpoena any document which might otherwise be construed as
outside its scope.


                                            Instructions

       A.      Unless otherwise stated, this subpoena seeks documents dated from January 1,
2014, to the date of this subpoena.
       B.      This subpoena is continuing in nature. If the subpoena recipient becomes aware of
or acquires possession, custody, or control of additional documents that are responsive to this
subpoena, the subpoena recipient shall promptly produce such additional documents.
       C.      All documents provided in response to this subpoena are to include all marginalia
and post-it notes, as well as any attachments referred to or incorporated by the documents.
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       D.       This subpoena applies to all documents and communications in the subpoena
recipient’s possession, custody, or control regardless of their location, including without limitation
any responsive documents in the custody or control of your information technology agents and
contractors, whether in-house or externally outsourced.
       E.       If no documents exist that are responsive to a specific document request, a written
statement to that effect shall be provided at the time of production.
       F.       Where a claim of privilege is asserted in response to any document requested by
this subpoena, and such document, or any part thereof, is not produced, please provide a privilege
log wherein you refer to the specific paragraph of this subpoena to which the document is
responsive and identify the type of document being withheld (e.g., letter, memorandum,
handwritten notes, marginalia, etc.), a description of its contents, its author(s), all actual and
intended recipients of the document, its date, and the specific privilege being asserted, all with
sufficient particularity so as to allow the Government, and potentially the Court, to assess the claim
of privilege.
       G.       This subpoena seeks un-redacted documents that may contain protected
individually identifiable patient health information (“PHI”). The information sought in the
subpoena is relevant to a legitimate and ongoing investigation by the U.S. Department of Justice,
a health oversight agency, of federal health offenses involving health care benefit programs.

                                      Subpoenaed Documents
Please produce the following documents:
   1. Contracts, agreements, or other documents reflecting understandings between Missouri
       Baptist Medical Center and Dr. Asim Ali, date of birth 12/01/1970, and social security
       number ending in 4372 (“Dr. Ali”) concerning Dr. Ali’s practice at Missouri Baptist
       Medical Center.

   2. Documents that reflect, refer, or relate to lawsuits or complaints by patients, family
       members of patients, or other patient representatives against Dr. Ali and/or Missouri
       Baptist Medical Center concerning the care or services provided by Dr. Ali. Documents
       responsive to this request should include, but not be limited to, the names, dates of birth,
       Social Security account numbers, and last known addresses and telephone numbers of the
       patients referenced in the lawsuits or complaints.
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   3. Documents that reflect, refer, or relate to complaints made against Dr. Ali by physicians,
       staff, and/or employees of Missouri Baptist Medical Center or any other individuals or
       entities.

   4. Documents, including emails, that refer or relate to billing and reimbursement issues
       concerning the care or services provided by Dr. Ali.

   5. Documents, including emails, that refer or relate to the quality of care or services provided
       by Dr. Ali, as measured by credentialling requirements, Quality Indicator assessments,
       post-surgery infection rates, post-surgery complications, or any other criteria used by
       Missouri Baptist Medical Center to evaluate and assess physicians.

   6. Documents that reflect, relate, or refer to peer reviews completed on Dr. Ali.

   7. Minutes of meetings, or portions thereof, where Dr. Ali’s quality of care, coding and
       billing, and compensation for professional services were discussed by Missouri Baptist
       Center staff or agents who were responsible for monitoring, supervising, or evaluating Dr.
       Ali’s actions at Missouri Baptist Medical Center.

   8. Documents that reflect, relate, or refer to information, guidance, or training provided to Dr.
       Ali and other employees of Missouri Baptist Medical Center concerning (a) requirements
       for the proper prescribing of controlled substances to patients and (b) the Stark law, and
       (c) federal and state law concerning the kickbacks for patient referrals and services.

Please provide the requested information and documents, preferably in electronic format, to:
Federal Bureau of Investigation
2222 Market Street
St. Louis, Missouri 63103
(314) 589-3216
Attn: Special Agent (SA) Michael J. Badolato
Email: mbadolato@fbi.gov

If you have any questions, please contact SA Jordan at (314) 917-6568
Email: Stacey.Jordan@oig.hhs.gov
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                            BUSINESS RECORDS DECLARATION


I, _____________, with the understanding that I am subject to criminal penalty under the laws of
the United States for perjury and making an intentionally false declaration, declare that


I, _____________, am in the position, authorized, and qualified to make this declaration. As part
of my job duties, I am familiar with this organization’s documents regarding records created by
this organization regarding its licensees.


I declare that the documents attached to this declaration are original records or true copies of
records which:


Were made at or near the time of the occurrence of the matters set forth therein, by (or from
information transmitted by) a person with knowledge of those matters;


Were kept in the course of regularly conducted business activity;


Were made by a business as a regular practice; and,


If not original records, are true and accurate duplicates of original records.




Date of execution: ____________________________


Place of execution: ____________________________


Signature:       ____________________________
